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NOTICE OF`REMOVAL

EXHIBIT 9

Notice of Filing of Notice of Removal

Alexsam, Inc. v. WildCard Syste'ms, Inc.
USDC, Southern District of Florida, Ft. Lauderdale Division

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IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
lN AND FOR BROWARD COUNTY, FLORIDA

ALEXSAM, INC,
Plaintiff,

v.
Case No. CACE15010434
WILDCARD SYSTEMS, INC., eFUNDS
CORPORATION, and FIDELITY NATIONAL
INFORMATION SERVICES, INC.,

Defendants.

 

WILDCARD SYSTEMS, INC., eFUNDS

CORPORATION, and FIDELITY NATIONAL

INFORMATION SERVICES, INC.,
Counterclaim-Plaintiffs,

v.

ALEXSAM, INC,

Counterciaim-Defendant.

 

NOTICE OF FILING OF NOTICE OF REMOVAL

TO: THE CLERK OF THE CIRCUIT COURT
FOR BROWARD COUNTY, FLORIDA

Pursuant 28 U.S.C. § l446(d), Defendants Wildcard Systems, lnc., eFunds Corporation,
and Fidelity National lnformation Services, lnc. (collectively, “Defendants”), hereby give 'Written
notice that a Notice of Removal of the above-captioned action from this Court to the United
S_tates District Court for the Southern District of Fiorida, Ft. Lauderdale Division, Was filed on

August 19, 2015, in said United States District Court. Pursuant to 28 U.S.C. § 1446(d), “the

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State court shall proceed no further unless and until the case is remanded.” A copy of the Notice

of Rernoval, Without exhibits, is attached hereto as Exhibit A.

MCGUIREWOODS LLP

By:

/s/ Kl'mberlv T. Mvdock
R. Eric Bilik (FL Bar No. 987840)
Primary E-Mail: ebilik@mcguirewoods.com
Secondary E-l\/Iail: ciammozzo@mc,quirewoods.com
Kimberly T. Mydock (FL Bar No. 010()571)
Prirnary Email: kmvdock@mcgu'irewoods.com
Secondary Email: flservice@mc,quirewoods.com
50 North Laura Street, Suite 3300
Jacksonville, Florida 32202
(904) 798-3200
(904) 798-3207 (fax)

OfCounsel.'

FINNEGAN, HENDERSON, FARABOW,
GARRETT & DUNNER, LLP

Jeffrey Berkowitz

Primary E-Mail: ieffrev.berkowitz@tinnegan.com
TWo Freedom Square

ll955 Freedom Dr.

Reston, Virginia 20190

(571) 203-2700

Attorneysfo`r Defendants Wildcard Systems, Inc.,
eFunds Corporation, and Fidelizj) National
Informatz`on Servl'ces, lnc.

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CERTIFICATE oF SERVICE

l HEREBY CERTIFY that a copy of the foregoing has been served by Email on
August 19, 2015 to the following: v

 

 

 

EdWard S. Polk, Esquire Jacqueline K. Burt

Cole, Scott & Kissane, P A Joseph J. Gleason

9150 South Dadeland Boulevard, Sutie 1400 Jarnes F. McDonough

Miami FL 33156 `Jonathan R. Miner

Edward.polk@csklegal.com Heninger Garrison Davis, LLC
3621 Vinings Slope, Suite 4320

Tirnothy C. Davis, Esquire Atlanta, GA 30339

Heninger Garrison Davis, LLC jburt@hgdlawlirrn.com

2224 lSt Avenue North igleason@hgdlawl'irm.com

Birrningham, Alabama 35203 imcdonough@hgdlawfirm.com

tim@hgdlawtirrn.com ]`miller@hgdlawfirm.com

Rene A. Vazquez, Esquire
Heninger Garrison Davis, LLC
18296 St. Georges Court
Leesburg, Virginia 20176
rvazquez@h,qdlawtirm.com

s/ Kimberlv T. Mva’ock
Attorney

70073382_1

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NOTICE OF FILING NOTICE OF REMOVAL

EXHIBIT A
NoTICE oF_REMovAL
(Wirhout Exhibits)

Alexsam, Inc. v. Wilc_z’C_'ard Systems, Inc.
17th Circuit, BroWard County, Florida
Case No.: CACE-lS--0l0434

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION

Case No.

 

ALEXSAM, INC.,
Plaintiff/Counterclaim Defendant,
v.
WILDCARD SYSTEMS,‘INC.,
eFUNDS CORPORATION, and
- FIDELITY NATIONAL lNFORl\/IATION
SERVICES, INC., »

Defendants/Counterclairn Plaintiffs.
/

DEFENDANTS’ NOTICE OF REMOVAL

Defendants/Counterclaim Plaintiffs Wildcard Systems, lnc. (“Wildcard”), eFunds
Corporation (“eFunds”), and Fidelity National lnformation Services, lnc. (“FIS”) (collectively,
“Defendants”) hereby remove the state court action described below from the Circuit Court of
the 17th Judicial Circuit, in and for BroWard County, Florida to the United States District Court
for the Southern District of Florida pursuant to 28 U.S.C. §§ 1331, 1338, l44l, and 1454. In
support of this Notice of Removal, Defendants state as follows:

I. BACKGROUND & PROCEDURAL POSTURE

l. On June 12, 2015, Plaintiff AleXsam, Inc. (“Alexsam”)' filed an action in the
Circuit Court of the 17th Judicial Circuit, in and 'for BroWard County, Florida, bearing the above
caption and assigned the case number 062015-CA-010434-AXXXCE (“State Court Action”).

2. Alexsam purported to serve Defendants With the Complaint on July 30, 2015

(attached as Exhibit l), and copies of the summons as to WildCard, eFunds, and FIS are attached

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as Exhibits 2, 3, and 4, respectively.1 While Defendants do not contest that service on WildCard
and eFunds was proper, the summons to FIS was not actually served on FIS. Rather, Alexsam’s
representative served another unrelated company, Fidelity National Financial, lnc. Defendants
informed Alexsam of this error on July 3l, 2015. Exhibit 5. Alexsam subsequently provided a
copy of a Return of Service showing on service on “Vicki Dent” at FIS; however, Ms. Dent does
not work for FIS (see Exhibit 6). To date, Alexsam has failed to perfect service on FIS.

3. The State Court Action is couched so as to be limited to contractual issues related
to a Settlement and License Agreement (“License Agreement”) entered between AleXsam and
WildCard, which was later acquired by eFunds, which was, in turn, acquired by FIS. But the
License Agreement makes clear that it centers on two patents Alexsam is said to own-U.S.
Patent No. 6,000,608, entitled “Multifunction Card System” and U.S. Patent No. 6,189,787,
entitled “Multifunctional Card System.” See EX. 'l, Complaint, Exhibit A at l-2. A review of the
License Agreement in view of the allegations in the Complaint reveals that Alexsam’s claims in
the State Court Action depend heavily on patent issues such as patent claim coverage,
prosecution history estoppel, and patent invalidity, such that a federal question is presented on
the face of the Complaint despite Alexsam’s careful drafting Further, Alexsam chose not to
disclose in its Complaint that in 2009 Alexsam terminated the License Agreement, fully
precluding any basis for its Complaint. Thus, the allegations of the Complaint constitute a claim
for patent infringement

4. Moreover, on August 19, 2015,l Defendants filed an Answer, Defenses, and

Counterclaims to Alexsam’s Complaint in the State Court Action, along with affirmative

 

1 Exhibits l through 4 and 7 to this Notice of Removal are the subject of a contemporaneously
filed Motion for Leave to File Under Seal. Pursuant to S.D. Fla. L.R. 5.4(b), these proposed
sealed filings are being filed conventionally and are not attached to this Notice.

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defenses which include lack of jurisdiction and that Defendants have not practiced and/or have
not infringed any of the claims of the two Alexsam patents; that the patents are invalid (as
recently adjudged by the U.S. Court of Appeals for the Federal Circuit, and for other reasons as
well); and that Alexsam is estopped from expanding the patent claims beyond permissible
bounds, given statements made by the named inventor to the U.S. Patent and Trademark Office
during patent prosecution See Exhibit 7. Defendants also filed Counterclaims seeking
declaratory judgment of: (a) Non-Practice/Non-lnfringement of Patents; (b) lnvalidity of Patents;
and (c) No Breach of Agreement. See id. The Counterclaims center almost entirely on patent
law-related issues and allegations

5. The Answer and Counterclaims include an explicit reservation of the right to
remove the dispute to federal court pursuant to 28 U.S.C. § 1454 and other applicable authority.
Id. at 1-2, 15

II. REMOVAL IS PROPER BASED ON FEDERAL QUESTION JURISDICTION

6. This is a civil action of which this Court has original jurisdiction under 28 U.S.C.
§§ 1331 and 1338(a), and Which may be removed to this Court pursuant to 28 U.S.C. §§ 1441(a)
and 1454.

7. " Federal question jurisdiction is available in actions involving state law claims,
where those claims necessarily involve the resolution of underlying disputed questions of federal
law. See generally Grable & Sons Metal Proa’s. v, Darue Eng’g & Wg., 545 U.S. 308, 315-16
(2005) (affirming federal question jurisdiction over state quiet title action based on need to
resolve predicate issue under federal Intemal Revenue Code);ACalz`form'a ex rel. Lockyer v.
Dynegy, lnc., 375 F.3d 831, 841 (9th Cir. 2004) (federal question removal jurisdiction proper

where state lawsuit turns upon defendant’s compliance with a federal regulation).

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8. ln the State Court Action, Defendants have asserted claims for relief, affirmative
defenses, and counterclaims arising under an Act of Congress relating to patents, and removal to
this district and division is authorized by at least 28 U.S.C. § 1454, which, as part of the Leahy-
Smith America lnvents Act (Pub. L. No. 112-29, § 19(c)(1), 125 Stat. 332 (2011)), also known
as the “Holmes Group Fix” (H.R. Rep. No. 112-98, at 81 (2011)), allows patent law
counterclaims to serve as a basis for removal to federal court (effectively nullifying Holmes
Group v. Vernaa'o Circulatl'on Systems, lnc., 535 U.S. 826 (2002)). See also Masimo. Corp. v.
Mz`na’ray DS USA, lnc., Civ. No. 14-405(SDW)(MCA), 2014 WL 7495105, at *3 (D.N.J. Sept. 5,
2014) (the Holmes Group Fix “had the effect of abrogating Holmes by allowing counterclaims
arising under federal patent law to provide ' grounds for federal removal jurisdiction.”).
Moreover, the contents of the Complaint and the License Agreement (EX. 1 and Exhibit A
thereto) also reveal that the causes of action asserted by Alexsam center on matters heavily
implicating, and arising under, the patent laws. And as eXplained, in 2009 Alexsam terminated
the License Agreement, fully precluding any basis for its Complaint.

9. This Court also has supplemental jurisdiction over any state law claims that are
deemed not to arise under the patent laws. To the extent any such claims can be considered
distinct from the patent-law related claims, they arise under the same operative facts as such
claims, and under the same operative facts as the Answer, Defenses, and Counterclaims Thus,

any such claims are related and form a part of the same case and controversy pursuant to 28

U.s.C. § 1367(3).

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III. DEFENDANTS HAVE COMPLIED WITH THE PROCEDURES FOR
REMOVAL '

10. Alexsam purported to serve Defendants With the Complaint on July 30, 2015.
Setting aside that service on FIS has not yet been perfected, and assuming for purposes of this
Notice of Removal that service on WildCard and eFunds is sufficient, this Notice of Removal is
timely filed. See 28 U.S.C. § 1446(b)(1).

11. The State Court Action was pending before the Circuit Court of the 17th Judicial
Circuit, in and for Broward County, Florida. Because this Court is the United States District
Court for the district and division embracing the place where the original action was filed, it is
the appropriate Court for removal under 28 U.S.C. § 1446.

12. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders filed
with the Clerk of the Circuit Court of the 17th Judicial Circuit, in and for Broward County,`
Florida, are being filed contemporaneously herewith. Those portions of the State court action
record not being filed under seal are attached hereto as Exhibit 8. Exhibits 1 through 4 and 7 are
being conventionally filed under seal along with an appropriate motion to maintain confidential
information provided for under paragraph 16 of the Agreement between Alexsam and WildCard
referenced in the state court complaint2 See EX. 1, Complaint, Exhibit A, 11 16. A copy of this
Notice of Removal has been served on Alexsam and will be filed with the Clerk of the Circuit
Court of the 17th Judicial Circuit, in and for Broward County, Florida. See Exhibit 9.

13. All Defendants consent to seeking removal, as evidenced by participation in this

Notice of Removal.

 

2 All proposed sealed filings are being conventionally filed pursuant to S.D. Fla. L.R. 5.4(b).

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WHEREFORE, Defendants hereby remove the above-described State Court Action now

pending in the Circuit Court of the 17th Judicial Circuit, in and for Broward County, Florida, to

the United States District Court for the Southern District of Florida, and respectfully request that

this District Court assume exclusive jurisdiction of this action, entering such other and further

orders as may be necessary to accomplish the requested removal and promote the ends ofjustice.

Dated: August 19, 2015.

Respectfully submitted,

/s/ Eml'ly Y, Romnann

 

R. Eric Bilik (FL Bar No. 987840)

Primary Email: ebilik@mcguirewoods.com
Secondary Email:ciammozzo@mcguirewoods.com
Emily Y. Rottmann (FL Bar No. 93154)

Primary Email: erottmann@mcguirewoods.com
Secondary Email: clambert@mcguirewoods.com
Kimberly T. Mydock (FL Bar No. 0100571)
Primary Email: kmydock@mcguirewoods.com
Secondary Email: flservice@mcguirewoods.com
MCGUIREWooDs LLP

50 North Laura Street, Suite 3300

Jacksonville, Florida 32202

Telephone: (904) 798-3200

Facsimile: (904) 798-3207

OfCounsel

Jeffrey Berkowitz

Primary Email: Jeffrey.berkowitz@finnegan.com
F1NNEGAN, HENDERsoN, FARABoW, GARRETT &
DUNNER LLP

Two Freedom Square

1 1955 Freedom Drive

Reston, Virginia 20190

(571) 203-2700

Attorneysfor Defendants Wildcara’ Systems, lnc.,
eFuna’s Corporation, ana1 Fia'ell'ly National
Inforrnation Services, Inc,

Case O:15-cV-61736-BB Document 1-1O Entered on FLSD Docket 08/19/2015 Page 12 of 12

CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that a true and correct copy of the foregoing has been served by
Email and U.S. Mail on August 19, 2015 to the following:

Edward S. Polk (FL Bar No. 239860)

CoLE, SCoTr & KlssANE, P.A.

9150 South Dadeland Boulevard, Suite 1400
Miami, Florida 33156

Telephone: (305) 350-5338

Facsimile: (305) 373-2294

Email: Edward.Polk@csklegal.com

Timothy C. Davis (FL Bar No. 571880)(
HEN1NGER GARRlsoN DAv1s, LLC

2224 lst Avenue North `
Birmingham, Alabama 35203
Telephone: (205) 327-9115

Facsimile: (205) 314-5915

Email: tim@hgdlawfirm.com

Jacqueline K. Burt

Joseph J. Gleason

J ames F. McDonough

Jonathan R. Miller

HENINGER GARRIsoN DAvIS, LLC

3621 V_inings Slope, Suite 4320

Atlanta, Georgia 30339

Telephone: (404) 996-0861, 0862, 0869, 0863
Facsimile: (205) 547-5502, 5518, 5515, 5506
Email: jburt@hgdlawfirm.com

Email: jgleason@hgdlawfirm.com

Email: jmcdonough@hgdlawfirm.com
Email: jmiller@hgdlawfirm.com

Rene A. Vazquez

HENINGER GARRIsoN DAvls, LLC
18296 St. Georges Ct.

Leesburg, Virginia 20176
Telephone: (571) 206-1375
Facsimile: (205) 327-9114

Email: rvazquez@hgdlawfirm.com

Attorneysfor Plaz'ntiffAlexsam, lnc.
/s/ Ernl`lv Y. Rottmann
Attorney

